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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

 IN RE INTACT COMPAGNIE D'ASSURANCE                            DECLARATION OF AMELIE
                                                               PASQUIN IN SUPPORT
                      Petitioner,                              OF APPLICATION FOR A
                                                               SUBPOENA DUCES TECUM
                       -against-                               AND AD TESTIFICANDUM
                                                               TO OBTAIN MATERIALS
 NORTH HUDSON TROOP OF NEW YORK                                AND TAKE DEPOSITION FOR
 STATE POLICE DEPARTMENT,                                      USE IN A FOREIGN ACTION

                       Respondent.

                                                        X



        Amelie Pasquin hereby declares, pursuant to 28 U.S.C.§ 1746 (1), under penalty of

perjury under the laws of the United States of America that the foregoing is true and

correct:

    1. I am an attorney for Intact Compagnie D'Assurance in connection with the below

        referenced action.

    2. On March 13, 2019, an action entitled Transport Kahkashan Inc. v. Intact Compagnie

        D'Assurance was commenced in Canada, in the Province of Quebec, in the District of

        Montreal, with venue in the Superior Court of Quebec, and is now pending in that Court.

    3. The underlying Canadian action is an action to recover insurance proceeds from an alleged

        theft of a 2017 Great Dane semi-trailer with license plate RG6413H, bearing VIN number

        1GRAA0623HB70330,(the "Semi-Trailer") on or around October 5, 2016.

   4. Plaintiff in that action is Transport Kahkashan Inc. ("Kahkashan"), which instituted the

        Canadian action for damages against Intact Insurance Company (Intact Compagnie




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        D'Assurance or "Intact") before the Superior Court of Quebec under the file bearing

        number 500-17-707112-198 (the "Canadian Action"), following the alleged theft.

    5. 9252-9320 Quebec Inc., doing business as Remorques Syr ("Syr"), a trailer repair

        company, was the party in custody of the Semi-Trailer when it was allegedly stolen from

        Syr's custody while awaiting repair in an adjoining lot to Syr's repair garage, located in

        the Province of Quebec. Syr is Intact's insured under a liability policy bearing number 693-

        2301.

   6. The Canadian Action is styled as Transport Kahkashan Inc. v. Intact Compagnie

        D'Assurance rather than against Syr because in Quebec there is a statutory right of direct

        action against Syr's liability insurer, Intact.

    7. According to the allegations ofthe Originating Application ofthe Canadian Action,the Semi-

        Trailer had been involved in an accident in July 2016 and had been parked in Syr's Quebec lot

        continually between July and October 2016. However, during this precise time, it appears that

        the Semi-Trailer was intercepted in New York by the North Hudson Troop of the New York

        State Police ("North Hudson Troop") on September 11, 2016, for the purpose of a Weight

        Inspection. It further appears, according to a computer abstract of inspection, a report

        SPB0198650 was issued, and the driver received brake and other violations. The abstract,

        conducted by counsel in Canada is attached as Exhibit "3", and the relevant section is blown

        up in Exhibit "4".

    8. It is necessary to procure this evidence that the Trailer was in New York and functional in

        September 2016 because it directly undermines Kakhashan's primafacie theft claim that

        the allegedly stolen trailer was actually in Syr's custody in Quebec, and similarly

        undermines the viability of the Canadian Action.




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    9. Applicant, then, has an interest in the action, in that the applicant, Intact Compagnie

        D'Assurance, is directly defending the underlying action on behalf of Syr and is liable for

        the result of the trial. North Hudson Troup resides at 1097 NYS Route 86, Box 100 Ray

        Brook, NY 12977-0100 within the juridical district of the above-entitled court and has

        knowledge ofthe following fact material to the defense ofthe above-described action: The

        presence of the Semi-Trailer outside of Syr's yard and in New York on September 11,

        2016.

    10. It is necessary for petitioner to procure the testimony ofNorth Hudson Troup for use in the

        Canadian Action because the Semi-Trailer's presence in New York demonstrates that the

        Semi-Trailer was not damaged and awaiting repairs since July 2016. as alleged by

        Kahkashan. This tends to prove that Syr is not responsible for a subsequent theft of the

        Semi-Trailer on October 6, 2016.

    11. An Order ofthis court appointing a person to take the deposition of an Official ofthe North

        Hudson Troup ofthe New York State Police for use in the action is necessary because New

        York State Police is a government agency, and the materials sought in the Subpoena are:

        Officially Stamped New York State Weigh-In documents in the form of report

        SPB0198650, which are admissible in the Superior Court of Quebec, and which I intend to

        offer into evidence there.



        Wherefore, applicant requests an order of this court directing that the deposition of an

        appropriate member of the New York State Police Department be taken, in such a manner

        and under such conditions and restrictions as the court may prescribe, for use in the

        Canadian Action entitled TransportKahkashan Inc. v. Intact Compagnie D'Assurance now



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        pending in the Superior Court of Quebec, of Canada, and appointing New York counsel

        for Petitioner, Kenneth M. Alweis, Esq., a member of this Court, to obtain the materials,

        take the deposition, and for such further relief as to the court may seem just and proper.


December 22, 2021
Montreal, Quebec




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